Case 2:04-Cv-03032-.]PI\/|-tmp Document 11 Filed 08/29/05 Page 1 of 2 Page|D 17

UNITED sTATEs DISTRICT coURT”m”" ¥"~Jm

wEsTERN DISTRICT oF TENNESSEEISRUSZ§ PH 2=¢,9
wEsTERN DIvIsJ:oN

 

 

EDWARD JOHNSON, JUDGMENT IN A CIVIL CASE
Petitioner,

v-

TOI\TYl PARKER, Cv. NO: 04-3032 Ml/P

Respondent.

 

JUDGMENT

 

JUDGMENT BY COURT. This action having come before the Court for
consideration, the issues having been considered, and a decision
rendered,

IT IS THEREFORE OR.DERED, A.DJUDGED, A.ND DECREED that, in
accordance with the Order of Dismissal, Order Denying Certificate

of Appealability, and Order Certifying Appeal Not Taken in Good
Faith, entered August éy1 2005, this case is DISMISSED.

APPROVED :

MVM“OM

ON . MCCALLA
U'N ED STATES DISTRIC'I‘ JUDGE

 

O\. @:?0°5_ THoMAs~\.eouLD

DATE Clerk of Court

 

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Edward Johnson

NORTHWEST CORRECTIONAL COl\/[PLEX
165254

960 State Route 212

Tiptonville7 TN 38079

Honorable J on McCalla
US DISTRICT COURT

